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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               HOT SPRINGS DIVISION

DEVYAN HENDERSON and
RACHE HENDERSON                                                               PLAINTIFFS

v.                                  No. 6:16-CV-06032

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY                                                             DEFENDANT

                      ORDER OF DISMISSAL WITH PREJUDICE

      Before the Court is the parties’ joint motion to dismiss. (Doc. 17).

      It appearing that the parties are in agreement, IT IS THEREFORE ORDERED that the

parties’ joint motion is GRANTED, and the complaint herein is DISMISSED WITH PREJUDICE.

      IT IS SO ORDERED this 1st day of March, 2017.


                                                               /s/P. K. Holmes, III
                                                               P. K. HOLMES, III
                                                               CHIEF U.S. DISTRICT JUDGE




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